          Case 3:20-cr-00419-SI        Document 27       Filed 11/10/21      Page 1 of 1




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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                             Case No. 3:20-cr-00419-SI

                                Plaintiff,             DEFENDANT’S SENTENCING
                                                       MEMORANDUM
                         v.

 DAKOTAH RAY HORTON,

                                Defendant.

       Dakotah Ray Horton will appear before the Court on November 18, 2021, for sentencing

upon his plea of guilty to Assault on a Federal Officer with a Dangerous Weapon Resulting in

Bodily Injury in violation of 18 U.S.C. § 111(a)(1) and (b). For reasons outlined in other sentencing

materials before the Court, counsel will be moving the Court to sentence Mr. Horton to a period

of time served followed by a three-year term of supervised release, with the requirement that

Mr. Horton serve at least six months of home confinement.

       Respectfully submitted on November 10, 2021.

                                                   /s/ Gerald M. Needham
                                                   Gerald M. Needham
                                                   Assistant Federal Public Defender



PAGE 1. DEFENDANT’S SENTENCING MEMORANDUM
